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                  UNITED STATES BANKRUPTCY COURT FOR
                       THE DISTRICT OF MARYLAND

IN RE: Edouard L Benjamin                                      Case no. 19-25903-RAG

                   (Debtor(s)                                       Chapter 13


Edouard L Benjamin

                    Movant

Department of Labor Federal Credit Union

                 Respondent(s)

                   Motion to Value Collateral and Set Interest Rate

       Edouard L Benjamin file(s) this Motion to Value Collateral and Set Interest Rate

and in support thereof state(s) as follows:

       1. On 11/29/2019, Debtor commenced case in the Court seeking relief under

           Chapter 13 of the Bankruptcy Code.

       2. The Debtor owns an interest in collateral described as 2520 Madison Avenue,

           Baltimore, MD (the “Collateral”).

       3. Department of Labor Federal Credit Union filed a secured claim asserting the

           amount $16,232.82 at 10.00000% per annum. . Attached, as Exhibit A is a

           copy of Proof of claim filed by Department of Labor Federal Credit Union.

       4. The proper interest rate for this loan is 4.25% based on the current market rate

           of interest on similar loans. Attached, as Exhibit B is a copy of the historical

           prime rate.
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       WHEREFORE, the Debtor prays that this Court enter an order setting the

interest rate on claim to a market rate of 4.25% and granting such other relief as the court

shall deem just and proper.

                                                     /s/ J. Michael Broumas
                                                     J. Michael Broumas, Esquire
                                                     Broumas Law Group LLC
                                                     8370 Court Avenue, Suite 203
                                                     Ellicott City, Maryland 21043
                                                     (410) 840-7575
                                                     Counsel for Debtor(s)


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 06, 2020 , I reviewed the Court’s CM/ECF
system and it reports that an electronic copy of Motion to Value Collateral and Set
Interest Rate will be served electronically by the Court’s CM/ECF system on the
following
Robert S. Thomas, II

       I HEREBY FURTHER CERTIFY that on April 06, 2020 I mailed a copy of
Motion to Value Collateral and Set Interest Rate first class mail, postage prepared, to:

POC Notices:                                  POC Signor:
Department of Labor Federal Credit Union      Diana C. Theologou
c/o Silverman Theologou, LLP                  Attorney for Dept of Labor FCU
11200 Rockville Pike Ste. 520,                c/o Silverman Theologou, LLP
N. Bethesda, MD 20852                         11200 Rockville Pike Ste. 520,
                                              N. Bethesda, MD 20852


Joan Moran
President/CEO
Department of Labor Federal Credit Union
200 Constitution Ave NW,
Washington, DC 20210


                                              /s/    J. Michael Broumas
                                              J. Michael Broumas, Esquire
